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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 ANYWHERECOMMERCE, INC. and
 BBPOS LIMITED,

        Plaintiffs,

                        v.
                                                   Civil Docket No: 1:19-cv-11457-IT
 INGENICO INC., INGENICO CORP.,
 and INGENICO GROUP SA,

        Defendants.



  PLAINTIFFS’ RESPONSE TO DEFENDANTS’ (EMERGENCY) SECOND MOTION
     TO IMPOUND DOCUMENTS TO PLAINTIFFS’ MOTION FOR SUMMARY
                             JUDGMENT


       Plaintiffs Anywherecommerce, Inc. and BBPOS Limited, by and through their counsel of

record, respond as follows to Defendants’ (Emergency) Second Motion to Impound Exhibits to

Plaintiffs’ Motion for Summary Judgment.



       There is a well-established presumption of public access to judicial documents. Fed. Trade

Comm’n v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 408 (1st Cir.1987). Non-disclosure of

judicial records can be justified for “only the most compelling reasons.” Id. What constitutes

sufficient cause depends on the nature of the records the parties seek to impound: the more essential

a document is to the Court's core function of adjudicating the parties’ claims, the higher the burden

to overcome the presumption of public access. Bradford & Bigelow, Inc. v. Richardson, 109

F.Supp.3d 445, 447–48 (D.Mass.2015). The moving party has the burden of demonstrating that
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records should be impounded, and must provide “a particular factual demonstration of potential

harm.” Standard Fin. Mgmt. Corp., 830 F.2d at 412.

       Instead of providing a particular factual demonstration of harm, Defendants instead simply

point out that various documents that will be attached to Plaintiffs’ motion for summary judgment

were marked “highly confidential” during discovery and that they contain “trade/business

information.” This falls far short of demonstrating that sufficient cause exists to seal documents.

See Ferring Pharms., Inc. v. Braintree Lab'ys, Inc., 215 F. Supp. 3d 114, 128 (D. Mass. 2016)

(“bare assertions” and contentions that “all [documents] are confidential” do not constitute

“particular factual demonstrations of harm” sufficient to support a motion to impound). The mere

fact that documents are marked confidential pursuant to a protective order does not satisfy a party’s

burden of establishing they should be filed under seal. See PCT Int'l Inc. v. Holland Elecs. LLC,

No. CV-12-01797-PHX-JAT, 2014 WL 4722326, at *2 (D. Ariz. Sept. 23, 2014). Additionally,

mere assertions that documents contain confidential information or are “not available to the public”

are insufficient to establish documents must be filed under seal. See Supernus Pharms., Inc. v.

Actavis, Inc., No. CV 13-4740(RMB/JS), 2015 WL 12837644, at *2 (D.N.J. June 3, 2015)

(collecting cases).

       Because Defendants’ motion fails to make a particular factual demonstration of potential

harm from publicly filing the records at issue, it should be denied.



                                                      KUTAK ROCK LLP

                                                      /s/ Melissa A. Bozeman
                                                      MELISSA A. BOZEMAN
                                                      OLIVER D. GRIFFIN
                                                      PETER N. KESSLER
                                                      Kutak Rock LLP
                                                      1760 Market Street, Suite 1100

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                                           Philadelphia, PA 19103
                                           Tel: (215) 288-4384
                                           Fax: (215) 981-0719
                                           melissa.bozeman@kutakrock.com
                                           oliver.griffinf@kutakrock.com
                                           peter.kessler@kutakrock.com

                                           JONATHON D. FRIEDMANN ROBERT P.
                                           RUDOLPH
                                           Rudolph Friedmann LLP
                                           92 State Street
                                           Boston, MA 02109
                                           Tel: (617) 723-7700
                                           Fax: (617) 227-0313
                                           jfriedmann@rflawyers.com
                                           rrudolph@rflawyers.com

                                           RICARDO G. CEDILLO
                                           Davis, Cedillo & Mendoza, Inc.
                                           755 E. Mulberry Ave., Ste 500 San Antonio,
                                           Texas 78212
                                           Tel: (210) 822-6666
                                           Fax: (210) 822-1151
                                           rcedillo@lawdcm.com

                                           Counsel for Plaintiffs
                                           AnywhereCommerce,Inc. and BBPOS
                                           Limited

Dated: June 20, 2022




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                                CERTIFICATE OF SERVICE


       I hereby certify that on June 20, 2022, I caused to be served via electronic mail a true copy

of the foregoing document on the following counsel as follows:



John A. Tarantino
Patricia K. Rocha
Nicole J. Benjamin
JEFFREY K. Techentin
Adler Pollock & Sheehan P.C.
One Citizens Plaza, 8th Floor
Providence, RI 02903
jtarantino@apslaw.com
procha@apslaw.com
nbenjamin@apslaw.com
jtechentin@apslaw.com


Jonathon D. Friedmann, Esq.
Robert P. Rudolph, Esq.
Rudolph Friedmann LLP
92 State Street
Boston, MA 02109
JFriedmann@rflawyers.com
RRudolph@rfllawyers.com


Ricardo G. Cedillo, Esq.
755 E. Mulberry Ave., Ste 500
San Antonio, Texas 78212
rcedillo@lawdcm.com

                                                             /s/Melissa A. Bozeman
                                                             Melkissa A. Bozeman
